Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 1 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 2 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 3 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 4 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 5 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 6 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 7 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 8 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 9 of 10
Case 4:21-cv-00514-JAS--MSA Document 1 Filed 12/09/21 Page 10 of 10
